                                                                                    Case 5:25-cv-02264-SVK               Document 1-1     Filed 03/05/25   Page 1 of 2




                                                                           1     CLARKSON LAW FIRM, P.C.
                                                                                 Ryan J. Clarkson (SBN 257074)
                                                                           2     rclarkson@clarksonlawfirm.com
                                                                                 Bahar Sodaify (SBN 289730)
                                                                           3     bsodaify@clarksonlawfirm.com
                                                                                 Benjamin J. Fuchs (SBN 320793)
                                                                           4     bfuchs@clarksonlawfirm.com
                                                                                 Kiryl Karpiuk (SBN 359697)
                                                                           5     kkarpiuk@clarksonlawfirm.com
                                                                                 22525 Pacific Coast Highway
                                                                           6     Malibu, CA 90265
                                                                                 Tel: (213) 788-4050
                                                                           7     Fax: (213) 788-4070
                                                                           8
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                                 Attorneys for Plaintiff
                                                                           9
                                                                                                                    UNITED STATES DISTRICT COURT
                                                                           10
                                                                                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                           11
                                                                           12    MACY MERRELL, individually and on                      Case No.:
                                                                                 behalf of all others similarly situated,
                                                                           13                                                           CLASS ACTION
                                                                           14                              Plaintiff,                   DECLARATION OF BENJAMIN J. FUCHS
                                                                                                                                        REGARDING VENUE PURSUANT TO
                                                                           15          v.                                               CALIFORNIA CODE OF CIVIL
                                                                                                                                        PROCEDURE SECTION 1780(d)
                                                                           16    FLORIDA CRYSTALS CORPORATION
                                                                                 and FANJUL CORPORATION,
                                                                           17
                                                                           18                              Defendants.

                                                                           19

                                                                           20
                                                                           21

                                                                           22

                                                                           23
                                                                           24

                                                                           25

                                                                           26
                                                                           27

                                                                           28

                                                                                                                          1
                                                                                                  DECLARATION OF BENJAMIN 1J. FUCHS REGARDING VENUE
                                                                                Error! Unknown document property name.
                                                                                    Case 5:25-cv-02264-SVK               Document 1-1     Filed 03/05/25      Page 2 of 2




                                                                           1              I, Benjamin J. Fuchs, declare as follows:
                                                                           2              1.      I am a senior associate at Clarkson Law Firm, P.C., and counsel of record for Plaintiff.
                                                                           3     I am licensed to practice in this District, and I am a member in good standing of the State Bar of
                                                                           4     California. I have personal knowledge of the facts set forth in this declaration and, if called as a
                                                                           5     witness, I could and would testify competently thereto.
                                                                           6              2.      Pursuant to 28 U.S.C. Section 1391, venue in this Court is proper this matter is brought
                                                                           7     on a basis of diversity jurisdiction; the claims at issue arose in this District (as Plaintiff purchased
                                                                           8     Defendants’ Products in reliance on Defendants’ label claims from a retailer in Santa Cruz County
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9     within the District); and Defendants were and are doing business in this District.
                                                                           10             I declare under penalty of perjury under the laws of California and the United States that the
                                                                           11    foregoing is true and correct.
                                                                           12

                                                                           13    Dated: March 5, 2025                                   /s/ Benjamin J. Fuchs
                                                                                                                                        Benjamin J. Fuchs
                                                                           14
                                                                           15

                                                                           16

                                                                           17
                                                                           18

                                                                           19

                                                                           20
                                                                           21

                                                                           22

                                                                           23
                                                                           24

                                                                           25

                                                                           26
                                                                           27

                                                                           28

                                                                                                                          2
                                                                                                  DECLARATION OF BENJAMIN 2J. FUCHS REGARDING VENUE
                                                                                Error! Unknown document property name.
